Facilities OVE@RAWE Gur O FRSA Sat HCH AbA-19 Filed 04/21/17 Page 1 0f2 page 1 of 2

 

Home

About DOC

Comumnissioner
DOC Leadership
DOC Statistics
Facilities Overview
Facility Locations
Hart Island

TEAMS

History of DOC
Interagency MOU

 

Inmate Information

 

Visit An Inmate

Contracting

Press & Community Affairs

Directives

 

Frequently Asked Questions

Career Opportunities

Contact DOC

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Printer Friendly Email a Friend Translate This Page TextSize) ~AAA

Facilities Overview
See also Facility Locations

The average daily inmate population of New York City Department of Correction (NYCD) is approximately 11,400 individuals. This is
more than the population of many state correctional systems.

Most of the inmates in NYCD custody are housed on Rikers Island, which has 10 jails that together can house as many as 15,000
inmates at once, The Rikers facilities include a jail for sentenced males, another for sentenced and detainee females, and a detention
center for adolescent males (ages 16 to 18), The seven other jails on the island house adult male detainees, Other Island features
include a bakery, central laundry, tailor shop, print shop, maintenance and transportation divisions, K-9 unit and a power plant.

In addition, the Department operates four borough jails, 18 court detention facilitias and three hospital prison wards. The borough jails
in Manhattan, Queens, Brooklyn and the Bronx have a combined capacity for approximately 3,000 detainees, The court pens are
located in the Criminal, Supreme and Family Court buildings in each borough. In Manhattan, an additional court pen is operated in
the special Narcotics Court, These courthouse facilities hold inmales scheduled for the day's proceedings, On a typical weekday, the
Department logs more than 3,000 miles transporting inmates to courts in the five boroughs as well as to medical and other jail or
prison facilities throughout the city and slate,

A portion of the West Facility on Rikers Island contains specialized housing units for inmates with tuberculosis and other
communicable diseases. Seriously ill inmates and those requiring intensive psychiatric observation are held in prison wards that the
Department operates in Elmhurst General Hospital and Bellevue Hospital. The North infirmary Command on Rikers Island houses
detainees with less serious medical problems and persons with AIDS nol requiring hospitalization, as well as high securily inmates.

Rikers Island Facilities

Benjamin Ward Visit Center

The Riker's Island Benjamin Ward Visit Center serves 10 separate jail facilities on Riker's Island. All visitors must coordinate their
visits through the Benjamin Ward Visit Center. The Visit Center is located at 18-31 ("Eighteen Thirty-one") Hazen St, East Elmhurst,
NY 11370,

Robert N. Davoren Genter (RNDC)

Opened in 1972, the facility houses - in separate quarters - adolescent male detainees (ages 16-17) and adult male detainees in
modular dormitories, sprung structures and cells. The jail was formally dedicated the Robert N. Davoren Center in May 2006 in
honor of the former Chief of Department,

Rehousing 18 year olds (English)
Rehousing 18 year olds (Spanish)
George Motchan Detention Center (GMDC)

Originally opened in 1971 as the Correctional Institution for Women, the jail became a male detention center with the 1988 opening of
the Rose M. Singer Center for women and was renamed in memory of a 17-year veteran Correction Officer fatally shot in the line of
duty,

Eric M. Taylor Center (EMTC)

Built in 1964 and expanded in 1973, EMTC houses adolescent and adult male inmates sentenced to terms of one year or less. Most
of its housing is dormitory style. Able-bodied sentenced inmates are required to work and provide Rikers Island with its grounds
crews, facility maintenance and industrial labor force, The facility, previously designated the Correctional Institution for Men, was
renamed on July 14, 2000, in honor of retired Chief of Department Eric M. Taylor.

Anna M. Kross Center (AMKC)

Completed in 1978, and named for the DOC's second female commissioner, AMKC houses male delainees in 40 housing areas
spread over 40 acres, It includas a Methadone Detoxification Unit for detainees and DOC's Mental Health Center established in 1962.

Rose M. Singer Center (RMSC)

Opened in June 1988 as an 800-bed facility for female deialnees and sentenced inmates. Subsequent additional modular housing
has increased capacily to its present level, In 1985, the Department opened the nation’s first jail-based baby nursery at the old
Corractional Institution for Women. The new jail features an expanded 25-bed baby nursery, It was named for an original member of
ihe New York City Board of Correction set up by Mayor Robert F. Wagner in 1957. The board ts the Department's oversight agency.

Otis Bantum Correctional Center (OBCC)

Opened in June 1985, it was completed in less than 15 months using modern design and construction methods. OBCC has dormitory
and cell housing and includes the Department's 400-bed Central Punitive Segregation Unit. The jail was named for its second warden
who was in command at the time of his death

North Infirmary Command (NIC)

Consists of two infirmary buildings, one of them the original Rikers Island Hospital builtin 1932. The facility has 153 beds for housing
infirmary care inmates and 263 beds - in specialized units - for inmates who require exlreme protective custody because of their
noloriety or the nature of their cases, and for inmates with HIV and AlDS-related conditions.

George R. Vlerno Center (GRVC}

Opened in 1991 as an 850-bed facility for detainees, the facility was named after a deceased retired Chief of Department and Acting
Commissioner A 500-bed addilion opened at GRVC in 1993.

James A, Thomas Center (JATC)

http://www.nyc.gov/html/doc/html/about/facilities-overview.shtml 3/27/2017
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Formerly the House of Detention for Men, this 1,200-bed, all-cell Jail was renamed in honor of the Department's first African-American
warden. Built in the early 1930s as Rikers Island's first permanent jall, the landmark structure Is no longer used to house inmates,

West Facility - Contaglous Disease Unit (WF)

Opened In the fall of 1991, it was designed to be an 940-bed facility constructed of Sprung Structures- rigid aluminum framed
structures covered by a heavy-duty plastic fabric. Part of the West Facility was converted into the Department's Contaglous Disease
Unit (CDU) center In which 140 specially air-controlled housing units are reserved for male and female inmates with contagious
diseases such as tuberculosis. With the exception of the CDU, West Facility is operationally off-line and in reserve status at present,

Borough Facilities

Brooklyn Detantlon Complex (BKDC)

Built on Atlantic Avenue in 1957, the single-cell jail can house 815 adult males, most undergoing the intake process or awaiting trial in
Kings County (Brooklyn) and Richmond County (Staten Island) courts.

Manhattan Detention Complex (MDC)

This lower Manhattan command consists of two bulldings designated the North and South Towers, connected by a bridge. The North
Tower was opened In 18980. The South Tower, formerly the Manhattan House of Detention, or the "Tombs," was opened In 1883,
after a complete remodeling. The complex houses male detainees, most of them undergoing the Intake process or facing trial in New
York County (Manhattan).

Vernon C, Bain Center (VCBC)

A five-story Jall barge built in New Orleans to DOC specifications, the facllity houses medium to maximum security inmates in 18
dormitorias and 100 cells. Opened in the Fall of 1982, it ls named for a wall-liked warden who died In a car accident. It serves as the
Bronx detention facility for intake processing.

Queens Detention Complex (QDC)
Built in 1961, this jail houses male detainee inmates, most of them undergoing the intake process or facing trial in Queens County.
Hospital Units

The Department maintains secure facilities in two City hospitals:
Elmhurst Hospital Prison Ward (EHPW), Queens - for female inmates requiring acule psychiatric care,

Bellevue Hospital Prison Ward, (BHPD), Manhattan - for male Inmates requiring psychiatric or medical treatment.

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